       Case 2:10-cv-02125-JWL-JPO Document 12 Filed 06/02/10 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS



KENNETH L. HUNNEL,                                                 Civil File No. 10-CV-02125

               Plaintiff,

vs.                                                           STIPULATION OF DISMISSAL
                                                                       WITH PREJUDICE
CAVALRY PORTFOLIO SERVICES, LLC,

               Defendant.



       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the plaintiff Kenneth Hunnel, and the

defendant, Cavalry Portfolio Services, LLC hereby stipulate to the dismissal of the above-styled

case and any claims that were raised or that could have been raised in this action, with prejudice,

each side to bear its own costs and attorneys fees.

                                              Respectfully submitted,

Dated: June 2, 2010________                   By __/s/J. Mark Meinhardt
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                                              4707 College Boulevard, Suite 100
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                                              ATTORNEY FOR PLAINTIFF


Dated: June 2, 2010________                   By __/s/Susan L. Mauch__________
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                                              Cosgrove, Webb & Oman
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